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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

                                      GRAND JURY H-20-1

UNITED STATES OF AMERICA                                          Criminal No.       gG   a   i-A-,n
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               V.                                                 VIOLATION:
                                                                  18 U.S.C. §§ 3146(a)(l),
JONATHAN BROWN,                                                   (b)(1 )(A)(i), and (b)(2)
     a.k.a. "Boy," and "Jason Hamilton"                           (Failure to Appear)

                                             INDICTMENT
       The Grand Jury charges:

                                              COUNT ONE
                                            (Failure to Appear)

       1.       On or about March 5, 2018, in the District of Connecticut, the defendant

JONATHAN BROWN, a.k.a. "Boy," and "Jason Hamilton," having been charged in United States

v. Ivan Rosario, et al., No. 3:17CR00055 (VLB), with a violation of Title 21, United States Code,

Sections 841(a)(l) and (b)(l)(A)(i), that is, conspiracy to possess with intent to distribute one

kilogram or more of heroin, an offense punishable by up to life imprisonment, and having been

released by the Honorable Robert A. Richardson, United States Magistrate Judge for the District

of Connecticut at Hartford, Connecticut, pursuant to Title 18, United States Code, Section 3142,

on or about June 13, 2017, and having agreed to appear as directed at all proceedings as required,

and having been required to appear before the Honorable William I. Garfinkel, United States

Magistrate Judge for the District of Connecticut at Bridgeport, Connecticut, for a Change of Plea

Proceeding, and having been notified and made aware of this required appearance, did knowingly

and willfully fail to appear as required.
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                             In violation ofTitlel8, United States Code, Sections 3146(a)(l), (b)(l)(A)(i) and (b)(2).




                                                                             A TRUE BILL

                                                                                  /s/
                                                                             FOREPERSON


UNITED STATES OF AMERICA




L ONARD C. BOYLE
FIRST ASSISTANT UNITE                                STATES ATTORNEY
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